               Case 20-50776-KBO           Doc 70       Filed 07/23/21    Page 1 of 29




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

    In re:                               )                 Chapter 11
                                         )
    Zohar III, Corp., et al.,1           )                 Case No. 18-10512 (KBO)
                                         )
                   Debtors.              )                 (Jointly Administered)
    ____________________________________ )
                                         )
    MBIA INSURANCE CORPORATION,          )
                                         )
                   Plaintiff,            )
                                         )
    v.                                   )
                                         )                 Adv. Proc. No. 20-50776 (KBO)
    LYNN TILTON; PATRIARCH               )
    PARTNERS, LLC; PATRIARCH             )
    PARTNERS VIII, LLC; PATRIARCH        )
    PARTNERS XIV, LLC;                   )
    PATRIARCH PARTNERS XV, LLC;          )
    PATRIARCH PARTNERS AGENCY            )
    SERVICES, LLC; PATRIARCH             )
    PARTNERS MANAGEMENT GROUP,           )
    LLC; OCTALUNA LLC; OCTALUNA II       )
    LLC; ARK II CLO 2001-1, LLC; ARK     )
    INVESTMENT PARTNERS II, LP; LD       )
    INVESTMENTS, LLC; ZOHAR              )
    HOLDING, LLC; and ZOHAR              )
    HOLDINGS, LLC,                       )
                                         )
                   Defendants.           )
                                         )

         MEMORANDUM ORDER GRANTING IN PART AND DENYING IN PART
        THE PATRIARCH DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT

        Before the Court are the Defendants on their motion to dismiss (the “Motion to Dismiss”)
the Complaint of Plaintiff MBIA Insurance Corporation (“MBIA”) under Rules 8(a) and 12(b)(6)
of the Federal Rules of Civil Procedure (the “Federal Rules”), made applicable to this adversary
proceeding by Rules 7008 and 7012 of the Federal Rules of Bankruptcy Procedure (the

1
  The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar
III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The
Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.


                                                    1
                    Case 20-50776-KBO      Doc 70       Filed 07/23/21   Page 2 of 29




“Bankruptcy Rules”). The Court, having considered the briefing submitted by the parties on the
Motion to Dismiss and determined that its decision-making process would not be aided by oral
argument, finds and orders as follows:

I.         JURISDICTION AND VENUE

       The Court has subject matter jurisdiction over this adversary proceeding pursuant to 28
U.S.C. §§ 157(a) and 1334(b). Venue is proper pursuant to 28 U.S.C. § 1409(a).

II.        PROCEDURAL HISTORY

        MBIA filed the Complaint against the Defendants on July 30, 2020.2 The Complaint
followed one involving substantially similar allegations and claims raised against many of the
same defendants by debtors Zohar CDO 2003-1, Limited (“Zohar I”), Zohar II 2005-1, Limited
(“Zohar II”), and Zohar III, Limited (“Zohar III” and, together with Zohar I and Zohar II, the
“Zohar Funds”) in the proceeding styled Zohar CDO 2003-1 v. Patriarch Partners, LLC (In re
Zohar III, Corp.), Adv. Proc. No. 20-50534 (the “Zohar Adversary”). On June 18, 2021, the Court
rendered a ruling in that adversary on a motion to dismiss.3 In this proceeding, briefing on the
Motion to Dismiss was complete January 15, 20214 but remained sealed until April 2021 when the
parties completed the filing of redacted versions.5 The matter is ripe for adjudication.

III.       SUMMARY OF ALLEGED FACTS

           A.       Zohar, MBIA, and Tilton

        MBIA is an insurance company that guaranteed the payments of interest and principal to
certain senior Class A noteholders of Zohar I and Zohar II (together, the “Zohar Issuers”).6 The
Zohar Issuers’ notes (comprised of class A-1, A-2, A-3, and B notes) (the “Zohar Notes”) obligated
the Zohar Issuers to pay their noteholders interest periodically and to redeem them in full on their
maturity date.7 The maturity date for the Zohar I Class A Notes, issued in the amount of $532
million, was November 20, 2015.8 The Zohar II Class A Notes, issued in the amount of $1 billion,
matured January 20, 2017.9 MBIA’s insurance policies guaranteed payments to the holders of
Zohar I Class A-1 and A-2 Notes and the Zohar II Class A-1, A-2, and A-3 Notes (collectively,

2
    Adv. D.I. 1 (“Compl.”). MBIA voluntarily dismissed Zohar Holdings, LLC. See Adv. D.I. 45.
3
 See Zohar CDO 2003-1, Ltd. v. Patriarch Partners, LLC, No. 20-50534, 2021 WL 2495146 (Bankr. D.
Del. June 18, 2021).
4
    Adv. D.I. 25, 26, 46, 50, 52.
5
    Adv. D.I. 62, 66-69
6
    Compl. ¶¶ 2, 7.
7
    Id. ¶¶ 30-31.
8
    Id. ¶ 30.
9
    Id. ¶ 31.


                                                    2
                     Case 20-50776-KBO   Doc 70       Filed 07/23/21   Page 3 of 29




the “Noteholders”) if the Zohar Issuers defaulted at the respective note maturity dates.10 Zohar III
also issued notes but MBIA did not insure them.

        The Zohar Issuers issued the Zohar Notes in connection with the formation and
capitalization of the Zohar Funds, three investment funds structured as collateralized loan
obligations.11 Lynn Tilton (“Tilton”) created and controlled the Zohar Funds.12 Each Zohar Fund
sold notes to investors and used the proceeds to, among other things, make or acquire loans to, and
obtain equity interests in, a portfolio of corporate borrowers (the “Portfolio Companies”).13 The
revenue generated by these assets was to repay the Zohar Funds’ note obligations.14 Zohar I and
Zohar II own, or in the past owned, membership interests in at least fifteen limited liability
Portfolio Companies and stock in at least twenty-three corporate Portfolio Companies.15

        Tilton owns and controls the other Defendants. Together, they managed and controlled the
Zohar Funds and the Portfolio Companies.16 Tilton was manager, director, and/or officer of the
Portfolio Companies.17 Patriarch VIII, LLC (“Patriarch VIII”) and Patriarch XIV, LLC (“Patriarch
XIV” and, together with Patriarch VIII, the “Patriarch Managers”) served as collateral managers
for Zohar I and Zohar II respectively.18 They were tasked with carrying out day-to-day operations
and functions for the Zohar Issuers, including managing their loans to and equity interests in the
Portfolio Companies.19 Patriarch Partners Agency Services, LLC (“PPAS”) served as the
administrative agent for the Zohar Funds under the various credit agreements between the Zohar
Funds and the Portfolio Companies (the “Credit Agreements”).20 Patriarch Partners Management
Group, LLC (“PPMG”) purportedly provided management and consulting services to the Portfolio
Companies.21 Octaluna I, LLC and Octaluna II, LLC (together, the “Octaluna Entities”) held the
preference shares of Zohar I and Zohar II, respectively.22




10
     Id. ¶¶ 2, 7, 67-68.
11
     Id. ¶ 2.
12
     Id.
13
     Id. ¶ 3.
14
     Id. ¶ 4.
15
     Id. ¶¶ 75-77.
16
     Id. ¶¶ 8-9, 14.
17
     Id. ¶ 183.
18
     Id. ¶¶ 8, 11-12.
19
     Id. ¶¶ 8, 34.
20
     Id. ¶ 14.
21
     Id. ¶ 15.
22
     Id. ¶¶ 16-17.


                                                  3
                     Case 20-50776-KBO         Doc 70       Filed 07/23/21     Page 4 of 29




           B.         The Governing Documents

       A set of agreements for each Zohar Issuer governed the parties’ obligations. A set included
an indenture, a collateral management agreement, an insurance and indemnity agreement, the
financial guaranty insurance policy, and the applicable Zohar Notes (together, the “Transaction
Documents”).23 Under these documents, the Zohar Issuers were to maximize recoveries on
account of their assets to facilitate repayment of the noteholders’ investment.24

        The indentures (the “Indentures”) principally governed the rights and obligations attendant
to the Zohar Issuers and the Zohar Notes. Each was entered into by, among others, Zohar I or
Zohar II, MBIA, note agents, and a trustee.25 Among other things, the Indentures set forth the
Zohar Issuers’ payment obligations on the Zohar Notes and instructions governing the order of
repayment.26 To secure payment of the obligations, the Zohar Issuers granted to the trustee a
security interest and lien on their rights, title, and interests in all assets and property owned.27 To
protect and preserve the collateral, the Indentures include covenants that restrict various actions of
the Zohar Issuers, such as collateral sales or lien impairment.28

        The Indentures further provide for the existence of the collateral managers and set forth
rights and obligations with respect thereto, including the managers’ responsibilities to take actions
necessary to secure the rights and remedies of MBIA and the noteholders under the Indentures and
to preserve and defend the Zohar Funds’ rights in and title to their assets for the benefit of such
parties.29 The Patriarch Managers served as collateral managers for the Zohar Issuers pursuant to
collateral management agreements (the “CMAs”), which also set forth their obligations and
authority for the Zohar Issuers.30 MBIA was not a party to the CMAs, but it was an express third-
party beneficiary.31 The CMAs required the Patriarch Managers to comply with the Indentures
and also independently restricted actions with respect to the Zohar Issuers and their property.32




23
     Id. ¶ 32.
24
     Id. ¶ 42.
25
     Id. ¶ 33.
26
     Id. ¶¶ 42-45 (describing the payment waterfalls under the Indentures for interest and principal proceeds).
27
     Id. ¶¶ 35-36 (describing the “Collateral” under the Indentures).
28
     Id. ¶ 38.
29
     Id. ¶ 39.
30
     Id. ¶¶ 52, 54.
31
     Id. ¶ 53.
32
     Id. ¶¶ 56-65.


                                                        4
                     Case 20-50776-KBO        Doc 70       Filed 07/23/21   Page 5 of 29




           C.         The Zohar Issuers Default and MBIA Pays

        At their respective maturities, the Zohar Issuers defaulted on the Zohar Notes. Thereafter,
MBIA made insurance payments in the approximate amount of $149 million33 and $770 million34
for the benefit of the Noteholders. It became subrogated to the rights of the Noteholders and
received the right to priority repayment under the Indenture.35 It also became empowered under
the Transaction Documents to, among other things, remove the Patriarch Managers as collateral
managers and direct the sale of the Zohar Issuers’ assets.36

           D.         The Defendants Caused the Defaults and MBIA’s Loss

        Despite its rights and remedies, MBIA has been unable to recover its losses and damages
estimated at $1 billion.37 MBIA blames Tilton. It believes that the Defendants took a series of
actions that aggregate to form a collective scheme designed by Tilton to enrich herself at the
expense of the Zohar Funds, the noteholders, the Portfolio Companies, and MBIA, by controlling
the Zohar Funds and Portfolio Companies, depriving them of sufficient assets to repay loan
obligations, and obstructing the exercise of rights and remedies to prevent, stop, or remedy the
resulting harm. MBIA alleges that the Defendants engaged in a “years-long pattern of fraud, self-
dealing, and gross mismanagement” and systematically looted the assets of the Zohar Funds.38 It
contends that the Zohar Funds failed as a result, triggering MBIA’s insurance obligations and
causing significant damages that it could never recover.39 In support, MBIA alleges five categories
of misconduct that led to the Zohar Funds’ defaults and its losses.

        First, the Defendants used the Zohar Funds’ assets to acquire controlling equity interests
in the Portfolio Companies and then took and controlled such interests to profit at the knowing
expense of the Zohar Issuers and their noteholders.40 MBIA alleges numerous examples.

        With defaults looming on the Zohar I notes, the Patriarch Managers, on behalf of the Zohar
Issuers, executed irrevocable proxies and shareholder agreements (the “Shareholder
Conveyances”) for corporate Portfolio Companies that transferred to the Defendants the Zohar
Issuers’ equity voting and control rights in the companies.41 As a result, the Zohar Issuers could
no longer exercise their voting rights at stockholder meetings, appoint, elect, or remove directors,


33
     Id. ¶¶ 145-47 (describing Zohar I’s note payment default).
34
     Id. ¶¶ 167-69 (describing Zohar II’s note payment default).
35
     Id. ¶¶ 42-45, 49.
36
     Id. ¶¶ 48, 70.
37
     Id. ¶ 1.
38
     Id.
39
     Id.
40
     Id. ¶¶ 5, 74.
41
     Id. ¶¶ 81-83.


                                                       5
                     Case 20-50776-KBO   Doc 70       Filed 07/23/21   Page 6 of 29




or amend the articles or certificates of incorporation and by-laws.42 Around the same time, the
Patriarch Managers, on behalf of the Zohar Issuers, also amended limited liability company
agreements (the “LLC Conveyances” and together with the Shareholder Conveyances, the
“Governance Conveyances”) to transfer similar voting and control rights to the Defendants for
limited liability Portfolio Companies.43 About two years later, Tilton as manager executed written
consents (the “November 2017 Written Consents”) on behalf of three limited liability Portfolio
Companies that created and granted to the Octaluna Entities new preference interests with the
exclusive right to replace Tilton as manager and amend the limited liability company agreements.44
While the Octaluna Entities purportedly contributed $23 million for the interests, they became
entitled to a priority payout worth five times as much.45

        It is alleged that the Defendants also refused to sell the Zohar Issuers’ equity and took
dividends and other distributions made on account of the interests.46 They caused the Portfolio
Companies to pay management fees to Tilton and her affiliates, including excessive amounts to
PPMG on account of purported management and consulting services.47 And they caused the
Portfolio Companies to enter into so-called “phantom equity agreements” giving Tilton the right
to certain “Change of Control” payments prior to the Zohar Funds.48

        Second, the Defendants modified the Portfolio Companies’ loan obligations to the Zohar
Issuers.49 Modifications included reducing interest rates, waiving interest payments and defaults,
restructuring outstanding fees and interest to principal, subordinating the Zohar Funds’ liens on
collateral in favor of Tilton’s affiliates, eliminating covenants and restrictions, and extending
principal payment deadlines.50 The Zohar Issuers received no consideration for these alterations.51
Moreover, MBIA alleges that they had no legitimate business justification.52 Rather, they hid the
poor performance of the loans and avoided events of default.53




42
     Id.
43
     Id. ¶ 85.
44
     Id. ¶ 87.
45
     Id.
46
     Id. ¶¶ 90, 94-103.
47
     Id. ¶¶ 91-93.
48
     Id. ¶ 179.
49
     Id. ¶¶ 5, 74, 97, 99.
50
     Id. ¶¶ 5, 104-21.
51
     Id.
52
     Id.
53
     Id.


                                                  6
                  Case 20-50776-KBO     Doc 70       Filed 07/23/21   Page 7 of 29




        Third, the Defendants used the assets of Zohar II to make unauthorized loans to the
Portfolio Companies,54 intercepted loan repayments,55 and, on the eve of the Patriarch Managers
ouster as collateral managers, caused PPAS to draw all available amounts under certain Credit
Agreements without knowledge or need of the corresponding Portfolio Companies.56 The funds
never went to the companies, and their whereabouts are unknown.57

        Fourth, the Defendants categorized as performing certain non-performing loans, defaulted
loans, and loans subject to a restructuring. They then used the improper categorizations to
miscalculate the Indentures’ mathematical formula referred to as the “Overcollateralization Ratio”
(the “OC Test”).58 The OC Test measured the likelihood that the Zohar Issuers had sufficient
liquidity to satisfy their payment obligations on the Zohar Notes.59 If the OC Test determined that
the Zohar Issuers’ assets were more than sufficient to repay noteholders, the resulting
“overcollateralization” avoided an event of default.60

         Fifth and finally, after the Zohar Issuers defaulted on the Zohar Notes and MBIA paid, the
Defendants obstructed MBIA’s efforts to recover its losses.61 Among other things, Tilton caused
the commencement of involuntary chapter 11 bankruptcy proceedings against Zohar I and two of
its affiliates (the “Zohar I Involuntary Proceeding”).62 MBIA believes that the filing had no
legitimate purpose and just served to prevent it from, among other things, removing the Patriarch
Managers from control of Zohar I and forcing a sale of its collateral.63 Ultimately, after an
evidentiary hearing addressing whether the Zohar I Involuntary Proceeding was properly
commenced, the Patriarch Managers resigned as collateral managers for each Zohar Fund, the
bankruptcy petitions were withdrawn, and the Zohar I Involuntary Proceeding dismissed.64

         Following the Patriarch Managers’ resignations and the start of non-Tilton control of the
Zohar Funds, access to books and records relating to the Zohar Funds and their assets was denied.
Basic information such as an inventory of assets (including equity holdings) was withheld, causing
litigation in the Delaware Court of Chancery.65 Moreover, when the Zohar Issuers tried to replace


54
     Id. ¶¶ 124-26.
55
     Id. ¶ 127.
56
     Id. ¶¶ 127-30.
57
     Id. ¶ 131.
58
     Id. ¶¶ 5, 74, 133-44.
59
     Id. ¶ 139.
60
     Id. ¶¶ 139-40.
61
     Id. ¶ 5.
62
     Id. ¶ 148.
63
     Id. ¶¶ 149-52.
64
     Id. ¶ 153.
65
     Id. ¶ 157.


                                                 7
                  Case 20-50776-KBO        Doc 70       Filed 07/23/21     Page 8 of 29




PPAS as administrative agent on the Portfolio Company loans, PPAS refused to step down and
cooperate with MBIA and the Zohar Issuers as they tried to control and monetize the loans.66

        The Defendants’ obstruction continued when MBIA tried to liquidate some of its collateral
and coordinate the auction of Zohar I’s assets. Tilton modified the tax structure of the Zohar Funds
so that they became taxable entities, attempted to enjoin the auction, and prevented the transfer of
Portfolio Company equity interests to MBIA after it prevailed as the winning bidder by refusing
to consent and claiming beneficial ownership.67

        The Defendants’ claim to own and control the equity interests in the Portfolio Companies
led to more litigation before the Delaware Chancery Court when Zohar II and Zohar III sought
assistance in exercising their rights as shareholders to name directors in three corporate Portfolio
Companies.68 Tilton defended and pursued counterclaims in the action (the “Delaware 225
Action”) based on her claim of ownership but was ultimately unsuccessful.69 The parties then
commenced five additional state court actions around the country to resolve similar ownership and
management disputes at seventeen more Portfolio Companies.70

       Ultimately, Tilton, acting as preference shareholder, took back control of the Zohar Funds,
commenced the Zohar Funds’ bankruptcy cases, stayed all pending litigation (including her appeal
of the Delaware 225 Action judgment), and used loan interest payments from the Portfolio
Companies to fund the bankruptcies and actions adverse to MBIA.71

       MBIA alleges that these and other actions detailed in the Complaint siphoned assets and
value away from the Portfolio Companies, the Zohar Issuers, and by extension, it and the
noteholders. The financial performance of the Portfolio Companies suffered, and the efforts of the
Zohar Funds, their noteholders, and MBIA to stop, prevent, and mitigate the harm were frustrated.

IV.        APPLICABLE LEGAL STANDARD

        Federal Rule 8(a)(2), made applicable to this proceeding by Bankruptcy Rule 7008,
provides that to state a claim for relief, a pleading must contain “a short and plain statement of the
claim showing that the pleader is entitled to relief[.]”72 This rule imposes a “notice pleading
standard . . . to give the defendant fair notice of what the claim is and the grounds upon which it
rests.”73 While detailed facts are not necessary, “a plaintiff is required to put the defendant on

66
     Id. ¶ 158.
67
     Id. ¶¶ 160-66.
68
     Id. ¶¶ 172-74.
69
     Id.
70
     Id. ¶ 176.
71
     Id. ¶¶ 171, 177-78, 180.
72
     FED. R. CIV. P. 8(a).
73
  Phillips v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008) (citing Bell Atlantic Corp. v. Twombly,
550 U.S. 544, 555 (2007)).


                                                    8
                  Case 20-50776-KBO            Doc 70       Filed 07/23/21     Page 9 of 29




notice as to the basics of the plaintiff’s complaint [and] to set forth the facts with sufficient
particularity to apprise the defendant fairly of the charges made against him so that he can prepare
an adequate answer.”74

        When reviewing a motion to dismiss under Federal Rule 12(b)(6) challenging the
sufficiency of a plaintiff’s statement of claim, a court must “accept all factual allegations as true,
construe the complaint in the light most favorable to the plaintiff, and determine whether, under
any reasonable reading of the complaint, the plaintiff may be entitled to relief.”75 This is a
plausibility standard – it requires more than a sheer possibility that a defendant acted unlawfully
but is not akin to a probability standard.76 Rather, a plaintiff must allege sufficient facts to nudge
the claims “across the line from conceivable to plausible[.]”77

        “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
factual allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of
will not do[.]”78 Therefore, “the tenet that a court must accept as true all factual allegations
contained in a complaint is inapplicable to legal conclusions.”79 Thus, a plaintiff’s threadbare
recitals of a cause of action that are only supported by conclusory statements will not suffice.80

        The United States Court of Appeals for the Third Circuit in Burtch v. Milberg Factors, Inc.
prescribed a three-step process for courts to determine the sufficiency of a complaint - first, note
the elements of the claim; second, identify the allegations that are conclusory and thus not entitled
to an assumption of truth; and third, assume the veracity of well-pleaded factual allegations and
determine the plausibility of the plaintiff’s entitlement to relief.81

       While a court may draw from “judicial experience and common sense” in considering a
motion to dismiss,82 it must only consider alleged facts that are within the scope of the court’s
review.83 The scope of what is reviewable includes the complaint, public record, and documents


74
  In re Lexington Healthcare Grp., Inc., 339 B.R. 570, 575 (Bankr. D. Del. 2006); see also In re APF Co.,
308 B.R. 183, 188 (Bankr. D. Del. 2004); Mervyn’s LLC v. Lubert-Adler Group IV, LLC (In re Mervyn's
Holdings, LLC), 426 B.R. 488, 495 (Bankr. D. Del. 2010).
75
   Crystallex Int’l Corp. v Petrolesos De Venezuela, S.A., 879 F.3d 79, 83 n.6 (3d Cir. 2018) (quoting F.T.C.
v. Wyndham Worldwide Corp., 799 F.3d 236, 242 (3d Cir. 2015)).
76
     Ashcroft v. Iqbal, 556 U.S. 662, 678 (2007).
77
     Twombly, 550 U.S. at 570.
78
     Id. at 555 (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)) (internal citation omitted).
79
     Iqbal, 556 U.S. at 678.
80
     Id.
81
  662 F.3d 212, 221 (3d Cir. 2011) (quoting Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir.
2010)).
82
     Iqbal, 556 U.S. at 679.
83
     Davis v. Wells Fargo, 824 F.3d 333, 341 (3d Cir. 2016); see also Schmidt v. Skolas, 770 F.3d 241, 249


                                                        9
                 Case 20-50776-KBO           Doc 70      Filed 07/23/21       Page 10 of 29




that are “integral to or explicitly relied upon” by a plaintiff, such as documents attached to a
complaint and any undisputedly authentic documents upon which the claims are based.84 Rather
than being a mini trial for parties to put forth their whole case and competing viewpoints of what
the ultimate outcome should be, a motion to dismiss focuses solely on the narrow and fundamental
question of whether, if everything the plaintiff alleges is true, the plaintiff can prevail.85

V.        LEGAL DISCUSSION

        The Defendants move to dismiss the Complaint for a variety of reasons. For the most part,
they challenge each claim as either not properly pled under the requirements of Federal Rule 8(a)
or not sustainable as a matter of law. However, as a threshold matter, they ask the Court to dismiss
the Complaint as duplicative of the Zohar Adversary. The Court will address this issue first and
then the arguments applicable to each claim.86

          A.      The Claim-Splitting Doctrine (Entire Complaint)

        The Defendants move to dismiss MBIA’s Complaint as duplicative of the Zohar
Adversary. They argue that MBIA is proceeding against the same defendants, on the same or
similar facts and agreements, asserting largely the same or similar legal theories, and seeking
largely the same or similar relief. Furthermore, they assert that the Zohar Funds adequately
represent the interests of MBIA in the Zohar Adversary given that, among other things, the purpose
of the proceeding is to benefit MBIA and the noteholders.87 Accordingly, they contend that the
“claim splitting” doctrine is implicated and requires dismissal.

       The United States Supreme Court has recognized the claim splitting doctrine for well over
one hundred years.88 It is “known as the ‘rule against duplicative litigation’”89 and stems from the
res judicata doctrine where, just as a plaintiff may not pursue another action after final
adjudication, a plaintiff may not pursue its claims arising out of a single wrong piece by piece in

(3d Cir. 2014).
84
  Tanksley v. Daniels, 902 F.3d 165, 172 (3d Cir. 2018); see also McTernan v. City of York, 577 F.3d 521,
526 (3d Cir. 2009); Davis, 824 F.3d at 341.
85
     See Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993).
86
   The Court attempted to take all arguments into account when reaching its conclusions. It addresses
herein only those arguments that raise significant concern and rejects all others.
87
   See, e.g., Zohar Adversary, D.I. 2 (Complaint) ¶ 9 (“[T]he Court should avoid the improper transfers and
obligations . . . incurred or made for the benefit of Tilton and her affiliates, so that the Zohar Funds may . .
. satisfy the notes purchased by their third-party noteholders, as the Zohar Funds promised to do when they
were formed by Tilton to borrow $2.5 billion and issue $2.5 billion notes from 2003 to 2007.”)
88
  U.S. v. Haytian Republic, 154 U.S. 118 (1894) (“[T]he true test of the sufficiency of a plea of ‘other suit
pending’ in another forum was the legal efficacy of the first suit, when finally disposed of, as ‘the thing
adjudged,’ regarding the matters at issue in the second suit.”).
89
  Leonard v. Stemtech Intern., Inc., No. 12-86-LPS-CJB, 2012 WL 3655512, *5 (D. Del. Aug. 24, 2012)
(quoting Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., No. 08-309-JJF-LPS, 2009 WL
2016436, at *3 (D. Del. July 9, 2009)).


                                                      10
                  Case 20-50776-KBO         Doc 70      Filed 07/23/21       Page 11 of 29




suits pending at the same time.90 This is to, among other things, foster judicial economy, avoid
harassment of litigants, and prevent a plaintiff from gaining a litigation advantage.91

        To determine whether a complaint duplicates another and triggers the claim splitting
doctrine, courts tend to apply a modified version of the test for res judicata.92 Specifically, claim
splitting may apply in cases involving the same parties or their privies and arising out of the same
transaction or occurrence.93 Differences between two suits may not avoid the doctrine’s
application if the complaints are substantially identical and the differences “purely semantic.”94

       If a court determines that duplicative litigation is present, it has discretion to fashion a
remedy.95 The dismissal or stay of a subsequently filed identical action may be appropriate.96
However, a court may also choose to consolidate the matters if such approach presents “the most
administratively efficient procedure.”97

        Similar to the theory proffered in the Zohar Adversary by the Zohar Funds, MBIA advances
a thesis through the Complaint that Tilton and her affiliates engaged in a series of actions designed
to entrench themselves in positions of control and extract as much value as possible. Its Complaint
arises out of a substantially similar set of operative facts, documents, and wrongdoing allegedly
performed by substantially the same defendants as the Zohar Adversary. It also alleges claims of
breach of contract, tortious interference, breach of fiduciary duty, conversion, unjust enrichment,
and declaratory judgment just as the Zohar Funds pursue. Notwithstanding, MBIA argues that its
proceeding does not implicate the claim splitting doctrine because it is pursuing its own rights and

90
  Id. at *5 (relying on Sensormatic Sec. Corp. v. Sensormatic Electr. Corp., 329 F. Supp. 2d 574, 578-79
(D. Md. 2004)).
91
     See Walton v. Eaton Corp., 563 F.2d 66, 70-71 (3d Cir. 1977).
92
   See, e.g., Vanover v. NCO Fin. Servs., Inc., 857 F.3d 833, 841 (11th Cir. 2017); Shaver v. F.W. Woolworth
Co., 840 F.2d 1361, 1365 (7th Cir. 1988); Davis v. Sun Oil Co., 148 F.3d 606, 613 (6th Cir. 1998); Curtis
v. Citibank, N.A., 226 F.3d 133, 138 (2d Cir. 2000); Adams v. Cal. Dept. of Health Servs., 487 F.3d 684,
688-89 (9th Cir. 2007) (overruled on other grounds by Taylor v. Sturgell, 553 U.S. 880 (2008)); Beckerley
v. Alorica, Inc., 2014 WL 4670229, at *4 (C.D. Cal. Sept. 17, 2014).
93
  See, e.g., Leonard, No. 12-86-LPS-CJB, 2012 WL 3655512, at *8 (“[I]f the second-filed lawsuit not only
involves the same defendant and the same (or similar) legal claims as does the first suit, but also arises out
of the same set of operative facts as alleged in the first suit, then the second suit is likely an example of
improper claim splitting.”); McKenna v. City of Philadelphia, 304 F. App’x 89, 92 (3d Cir. 2008)
(explaining that the claim splitting doctrine applies “when two cases: (1) take place in the same court; (2)
with the same defendants; (3) involving the same subject matter.”); Sensormatic Sec. Corp., 329 F. Supp.
2d at 579 (holding that a “second suit will be barred if the claim involves the same parties or their privies
and ‘arises out of the same transaction or series of transactions’ as the first claim.” (quoting Trustmark
Insur. Co. v. ESLU, Inc., 299 F.3d 1265, 1269-70 (11th Cir. 2002)).
94
   Leonard, No. 12-86-LPS-CJB, 2012 WL 3655512, at *6 (relying on and quoting McKenna, 304 F. App’x
at 92).
95
     Walton, 563 F.2d at 70-71.
96
     Id. at 70.
97
     Id. at 71.


                                                     11
                   Case 20-50776-KBO       Doc 70     Filed 07/23/21       Page 12 of 29




remedies distinct from the Zohar Funds as either a Noteholder, insurer with priority payment
rights, or owner of Zohar I’s collateral. Moreover, it points out differences between the injuries
suffered by the Zohar Funds and itself and the differing relief sought.

        The Court will not dismiss MBIA’s Complaint as duplicative. As an initial matter, it is
difficult to determine the extent of overlap between this proceeding and the Zohar Adversary
because dismissal with leave to amend is warranted for many of MBIA’s claims. Among other
things, further clarification is required to understand MBIA’s legal and factual theories
underpinning its distinct rights of recovery on several claims that appear derivative of the Zohar
Funds’ rights and claims. Without a more defined scope of this proceeding, it would be premature
for the Court to analyze the application of the claim splitting doctrine.

        Following amendment however, even if the Court found some claims duplicative and the
existence of privity between MBIA and the Zohar Funds, the presence of additional Defendants
(namely, LD Investments, LLC (“LDI”), Zohar Holding, LLC (“Zohar Holding”), and Patriarch
Partners, LLC (“Patriarch Partners”) and claims (such as malicious prosecution, alter ego, and
tortious interference with insurance agreements) would support the consolidation of this
proceeding with the Zohar Adversary rather than dismissal.98 At the appropriate time, the Court
will discuss with the parties consolidation and other case management procedures, such as
coordinated discovery, to ensure that the cases proceed in an efficient and economical fashion.

           B.       Breach of Contract (Count I)

        Count I is MBIA’s claim against the Patriarch Managers for breach of the CMAs. MBIA
alleges that the Patriarch Managers breached their obligations to monitor and manage the Zohar
Funds’ assets in accordance with the terms and standards of care set forth in the CMAs.99 To that
end, the Complaint details several obligations and requirements of the CMAs that the Patriarch
Managers failed to fulfill, including to exercise powers in accordance with the Indentures, not act
intentionally in a manner known to cause a default under the Indenture, and not to take any action
which they knew or should be reasonably expected to know in accordance with prevailing market
practices would cause the Zohar Funds to violate the Indentures, adversely affect the interests of
the noteholders in any material aspect, or violate the law.100 The Complaint also provides six
categories of wrongful breaching conduct.101 According to MBIA, the breaches caused the Zohar
Funds to default on the Zohar Notes, forced MBIA to satisfy its guarantee obligations and incur
substantial costs and expenses, and prevented it from mitigating its damages.102



98
  See id. (explaining that if a second complaint contains some new matters, consolidation avoids two trials
on closely related matters and causes no harm with respect to the identical matters so long as the court
oversees the matter to avoid procedural advantages).
99
     Compl. ¶¶ 188-190.
100
      Id. ¶¶ 189-90.
101
      Id. ¶ 191.
102
      Id. ¶ 192.


                                                    12
               Case 20-50776-KBO            Doc 70      Filed 07/23/21        Page 13 of 29




       The Defendants seek to dismiss the breach of contract claim for MBIA’s failure to plead
with sufficient specificity. They also argue that the claim fails as a matter of law for a variety of
reasons, including that the CMAs limit their liability and that some of the issues are precluded.103

                 1.      Insufficient Pleading

        The Defendants argue that the allegations of Count I are too vague for them to determine
which actions violated the CMAs. Specifically, they take issue with MBIA’s use of general
categories to describe the Patriarch Managers’ wrongful conduct and its reliance on the specific
facts incorporated into Count I from the prior 186 paragraphs of the Complaint’s common
allegations. In defense of its pleading, MBIA contends that the Complaint provides more than
adequate notice of and sufficient detail regarding the grounds for its breach of contract claim,
especially in light of the categories provided in Count I that provide a link to the Complaint’s more
specific descriptions of wrongdoing. The Court agrees with MBIA.

        In Count I, MBIA notes the contracts at issue and details the specific provisions thereof
allegedly breached by the Patriarch Managers. It then details in paragraph 191 the six categories
of actions that the Patriarch Managers took that breached such provisions:

                 (a)     executing or amending terms of the Credit Agreements for
                         the sole intended benefit of the Patriarch Manager
                         Defendants or their affiliates . . . to the detriment of the
                         Insured Zohar Funds, the noteholders and MBIA, including
                         by deferring and forgiving loan interest payments and fees .
                         . ., and undermining the Zohar Funds’ ability to take
                         remedial action to address Portfolio Companies’ loan
                         defaults by modifying loan conditions and requirements,
                         waiving defaults themselves and subordinating the Insured
                         Zohar Funds’ lien positions;

                 (b)     miscategorizing non-performing “Category 1” loans as
                         performing “Category 4” loans and miscalculating the
                         Overcollateralization Ratio to ensure the continued wrongful
                         payment of management fees;

                 (c)     funding new         loan    commitments        without     MBIA’s
                         authorization;

                 (d)     extending the principal repayment date of the loans made by
                         the Insured Zohar Funds to the Portfolio Companies beyond

103
   The Defendants raise a series of other arguments for dismissal of MBIA’s contract claims related to the
Credit Agreement amendments and related actions, the funding of new loan commitments, the payment
management fees, the distribution of sales proceeds, the failure to equitize equity interests, and self-dealing
transactions, all of which the Court rejects as bases for dismissal at this initial pleading stage. See infra
note 111 and accompanying text.


                                                      13
                Case 20-50776-KBO           Doc 70      Filed 07/23/21       Page 14 of 29




                         the Zohar Note Maturity Dates and in violation of Section
                         12.1(a)(2) of the Indentures;

                  (e)    refusing to monetize equity interests in the Portfolio
                         Companies owned by the Insured Zohar Funds and diverting
                         to themselves proceeds from the Portfolio Companies,
                         including siphoning funds from the Portfolio Companies in
                         the form of management consulting fees; and

                  (f)    engaging in various conflicted, self-dealing transactions
                         knowingly designed to divert to Defendants control over the
                         Insured Zohar Funds’ equity interests in the Portfolio
                         Companies in a gross abuse of Defendants’ various positions
                         of control over the Insured Zohar Funds, including, among
                         other things, obstructing and impeding Zohar II’s ability to
                         monetize its equity interests in the Portfolio Companies to
                         avoid its Note payment default . . . .104

        Unlike the pleading circumstances in the cases cited by the Defendants that often left
parties and the courts confused and guessing as to the legal and factual bases for claims,105 MBIA’s
claim arising from the allegations of paragraph 191 is sufficiently pled to provide adequate notice
of the challenged conduct because these categories are detailed enough to help guide the reader
through the common allegations. Accordingly, the Court will not dismiss the claim.106



104
      Compl. ¶ 191.
105
   See, e.g., Tillio v. H&R Block, Inc., 445 Fed. Appx. 604, 604-05 (3d Cir. 2011) (finding pro se complaint
“largely incomprehensible” and deficient under Federal Rule 8(a)); Wagner v. First Horizon
Pharmaceutical Corp., 464 F.3d 1273, 1280 (11th Cir. 2006) (dismissing a shotgun securities class action
complaint as insufficient under Federal Rule 9(b) when claim recitals included no specific allegations);
Johnson Enters. of Jacksonville, Inc. v. FPL Grp., 162 F.3d 1290, 1332 (11th Cir. 1998) (explaining how a
deficient pleading led the Court to believe that every general allegation was material to each claim); Krushin
v. Kosek, No. 4:16-CV-1540, 2019 WL 1246963, at *8 (M.D. Pa. Feb. 22, 2019) (recommending a more
definite statement of a pro se party’s claims which were confused and opaque); Vorobey v. Cleveland Bros.
Equip. Co., Inc., No. 4:18-CV-865, 2018 WL 6436717, at *4 (M.D. Pa. Dec. 7, 2018) (finding no facts
alleged to support conclusory allegations); Digene Corp. v. Ventana Med. Sys., Inc., 476 F. Supp. 2d 444,
448 n.36 (noting that plaintiff’s incorporation of all prior allegations into several counts was a shotgun
approach leading to the incorporation of irrelevant items).
106
   The Defendants move alternatively for a more definite statement under Federal Rule 12(e). FED. R. CIV.
P. 12(e) (“A party may move for a more definite statement of a pleading to which a responsive pleading is
allowed but which is so vague or ambiguous that the party cannot reasonably prepare a response.”). “The
prevailing standard employed by Third Circuit courts is to grant a Rule 12(e) motion ‘when the pleading is
so vague or ambiguous that the opposing party cannot respond, even with a simple denial, in good faith,
without prejudice to [itself].’” MK Strategies, LLC v. Ann Taylor Stores Corp., 567 F. Supp. 2d 729, 736-
37 (D.N.J. 2008) (quoting Clark v. McDonald’s Corp., 213 F.R.D. 198, 232-33 (D.N.J. 2003)). Those
circumstances are not present here.


                                                     14
                 Case 20-50776-KBO           Doc 70     Filed 07/23/21      Page 15 of 29




                   2.      No Viable Claim

                           (a)     Limitation of Liability

        The Defendants argue that dismissal of Count I is also warranted because the CMAs
expressly and broadly limit the Patriarch Managers’ liability.107 The Defendants acknowledge that
there is an exception to the CMAs’ limitation of liability for “acts or omissions constituting fraud,
bad faith, willful misconduct, gross negligence or breach of fiduciary duty[,]”108 but assert that the
Complaint fails to sufficiently allege such wrongful conduct. They contend that the facts fail to
suggest that the Patriarch Managers had a motive for wrongdoing. Rather, it is their position that
the interests of Tilton, her affiliates, the Zohar Funds, and the noteholders were aligned.109

        The Complaint sets forth sufficient facts to support a claim under the CMAs’ exceptions
to liability. Specifically, MBIA alleges a series of deliberate actions by the Patriarch Managers
designed to harm the Zohar Funds, their noteholders, and MBIA all for the betterment of Tilton.
Considering the factual allegations as a whole and accepting them as true, this conduct would not
be exculpated under applicable New York law.110 Moreover, Tilton’s alleged alignment of
interests is a defense, the consideration of which must be left after the completion of discovery
given that “[t]he purpose of a motion to dismiss is to test the sufficiency of a complaint, not to
resolve disputed facts or decide the merits of the case.”111

                           (b)     Preclusion of the OC Test Claims

       Similar to arguments made in the Zohar Adversary, the Defendants argue that MBIA’s
breach of contract claim related to loan miscategorization and OC Test miscalculations must be
dismissed as precluded. They assert that the same allegations were raised by the Securities and
Exchange Commission in a 2015 administrative action (the “Action”) against Tilton and the

107
      See Adv. D.I. 26, Ex. 2 (Zohar I CMA) § 4.4 (“Liability of the Collateral Manager”).
108
      Id.
109
   The Defendants also argue that the contract claim is precluded because the CMAs did not guaranty
repayment to the Noteholders. See id. § 2.2(a). However, this argument is unavailing because it assumes
that the Patriarch Managers fulfilled their duties and obligations under the relevant Transaction Documents
and that, nonetheless, the Noteholders’ investments still underperformed. Of course, the fulfillment of the
Patriarch Managers’ duties and obligations is what MBIA challenges in Count I.
110
   See, e.g., Kalisch-Jarcho, Inc. v. City of N.Y., 448 N.E.2d 413, 416-17 & n.4-5 (N.Y. 1983) (explaining
that gross negligence refers to implicit intentional misconduct that “betokens a reckless indifference to the
rights of others” and bad faith is an example of explicit intentional misconduct that “connotes a dishonest
purpose”); Net2Globe Intern., Inc. v. Time Warner Telecom of N.Y., 273 F. Supp. 2d 436, 454 (S.D.N.Y.
2003) (explaining that the exceptions to exculpatory clauses demand “nothing short of . . . a compelling
demonstration of egregious intentional misbehavior evincing extreme culpability: malice, recklessness,
deliberate or callous indifference to the rights of others, or an extensive pattern of wanton acts.”).
111
    Mervyn’s, 426 B.R. at 494 (quoting Paul v. Intel Corp. (In re Intel Corp. Microprocessor Antitrust
Litig.), 496 F. Supp. 2d 404, 407 (D. Del. 2007)). For similar reasons, the Defendants’ arguments that
MBIA fails to sufficiently allege causation must fail. See e.g., Adv. D.I. 50 ¶ 54 (arguing that the global
financial crisis beginning in 2008 caused the Zohar Funds’ defaults).


                                                      15
                   Case 20-50776-KBO        Doc 70     Filed 07/23/21       Page 16 of 29




Patriarch Managers.112 The proceeding was premised on certain antifraud provisions of the
Investment Advisers Act of 1940 and Investment Company Act of 1940113 and was resolved in
favor of Tilton and the Patriarch Managers.114 The Defendants contend that the Administrative
Law Judge considered and “resoundingly rejected”115 MBIA’s miscategorization and OC Test
allegations when rendering the ruling in the Action (the “Final SEC Order”). MBIA disagrees.

        “Issue preclusion bars successive litigation of ‘an issue of fact or law’ that ‘is actually
litigated and determined by a valid and final judgment, and . . . is essential to the judgment.’”116
“If a judgment does not depend on a given determination, relitigation of that determination is not
precluded.”117 “A determination ranks as necessary or essential only when the final outcome
hinges on it.”118

            Two issues were raised in the Action; namely, whether:

                    (1) Tilton improperly categorized and overvalued loans, such that
                    Zohar II and Zohar III never failed their OC Ratio Tests, enabling
                    Respondents to collect Subordinated Collateral Management Fees
                    and other payments; and that these departures from the provisions
                    of the indentures were not disclosed to investors; and (2) the Funds’
                    financial statements were false and misleading and did not comply
                    with GAAP, in respect to impairment and fair valuing of assets.119

The first part of issue number one is relevant to MBIA’s breach of contract claim as MBIA argues
that the Patriarch Managers’ improper loan categorization and calculation of the OC Test violated
the Indentures and by extension, the CMAs. However, in rendering a decision on the issue,
Administrative Law Judge Fox focused only on its second part. In particular, Judge Fox found
and concluded that, “assuming arguendo that asset categorizations and consequent OC Ratio
computations were not in accord with the provisions of the indentures, this disparity was disclosed
to the investors.”120 No decision was made as to whether there was a violation of the Indentures
and, accordingly, the Court agrees with MBIA that its claims should not be dismissed as precluded.



112
      See Adv. D.I. 26, Ex. 4.
113
      Id. at 2.
114
      Id. at 57.
115
      Adv. D.I. 50 ¶ 46.
116
      Bobby v. Bies, 556 U.S. 825, 834 (2009) (quoting RESTATEMENT (SECOND) OF JUDGMENTS § 27 (1980)).
117
      Id.
118
      Id.
119
      Adv. D.I. 26, Ex. 4 at 47-48.
120
   Id. at 52; see also id. at 51-52 (“The Division argues that Tilton improperly categorized the Zohar Funds’
loan assets . . . and that these alleged departures from the provisions of the indentures were material and
not disclosed . . . . . However, it is concluded that Respondents’ approach was disclosed . . . .”).


                                                     16
                 Case 20-50776-KBO          Doc 70      Filed 07/23/21   Page 17 of 29




           A.      Tortious Interference (Counts II and III)

        Counts II and III are MBIA’s tortious interference claims against Tilton, the Patriarch
Partners, PPAS, and the Patriarch Managers. Under New York law,121 “[t]he elements of a cause
of action for tortious interference with contract are (1) a valid contract between the plaintiff and a
third party; (2) the defendant’s knowledge of that contract; (3) the defendant’s intentional
procurement of the third party’s breach of that contract; and (4) damages.”122

        Count II alleges that the Defendants, through their affirmative acts and domination and
control, intentionally and improperly induced or caused the Zohar Issuers to breach their
obligations under the Indentures to perform their payment obligations in accordance with the Zohar
Notes and other governing documents and to not take any action to impair the related collateral.123
Similarly, Count III alleges that the Defendants, through their affirmative acts and domination and
control, intentionally and improperly induced or caused the Zohar Issuers to breach their
obligations under the insurance and indemnity agreements to comply with the terms and conditions
of, and enforce their rights under, each Transaction Document to which they are a party, pay
“Debt” (as defined in the insurance agreements), and apply their funds to pay amounts due.124

         The Defendants move to dismiss MBIA’s tortious interference claims for three reasons.
First, they argue that Federal Rule 8’s notice pleading standards are not fulfilled because MBIA
does not differentiate between or among the Defendants or identify any specific acts underlying
the claims. Second, they argue that Tilton, the Patriarch Managers, and PPAS cannot be held liable
for tortious interference because they were agents of the Zohar Funds. Third, and finally, they
argue that the economic interest doctrine bars MBIA’s claims.

        The Court extensively explored the Defendants’ agency and economic interest arguments
when it addressed the Zohar Funds’ tortious interference claims in the Zohar Adversary dismissal
ruling.125 Similar to the reasoning therein, the Court rejects the same arguments in this proceeding.

        Nonetheless, the Court will dismiss Counts II and III against the Patriarch Partners, PPAS,
and the Patriarch Managers for MBIA’s failure to plead with sufficient particularity the wrongful
conduct each Defendant took to tortiously interfere with the Zohar Issuers’ performance of the
Indentures and insurance agreements. The counts do not specify the wrongful actions of the
specific Defendants but rather incorporate the Complaint’s common allegations. Many of the
allegations, however, simply refer to “the Defendants” as the bad actor.126 Because of this group
pleading, the Court is left guessing which Defendant did what particular act. MBIA submits that

121
      Both parties apply New York law to this claim.
122
      Iacono v. Pilavas, 125 A.D.3d 811, 812 (N.Y. App. Div. 2015).
123
      Compl. ¶¶ 201-03.
124
      Id. ¶¶ 210-11.
125
      Zohar CDO, No. 20-50534, 2021 WL 2495146, at **13-15.
126
  See, e.g., Compl. ¶¶ 79, 80, 90, 94, 97, 101-02, 104, 107, 110, 111, 112, 113, 114, 120, 125, 129, 156,
174, 175, 180.


                                                       17
                  Case 20-50776-KBO        Doc 70      Filed 07/23/21      Page 18 of 29




its theory of Tilton’s “concerted scheme” supports its group pleading. This is sufficient to allege
claims against Tilton but not the remaining Defendants. Each non-Tilton Defendant is entitled
under Federal Rule 8(a) to receive notice of the challenged part they played in the scheme,127 and
the common allegations of the Complaint fail to do that. In the interest of providing proper notice
to the Defendants and bringing efficiency and economy to these proceedings,128 the Court will
dismiss Counts II and III as to all Defendants save for Tilton but grant MBIA leave to amend129
its Complaint to properly attribute the challenged actions to a specific Defendant or group thereof.

           B.       Declaratory Relief (Count IV)

        In Count IV, MBIA seeks declaratory relief against all Defendants on two issues. It first
seeks a declaration that it is the legal, beneficial, and equitable owner of the equity interests in the
Portfolio Companies that were issued or otherwise created in the name of Zohar I (the “Zohar I
Equity”).130 It also seeks a declaration that the Governance Conveyances, the November 2017
Written Consents, and any other restrictions and limitations imposed on the equity interests by
Defendants’ execution of conflicted, self-dealing transactions (including any purportedly
irrevocable proxies, shareholder agreements and limited liability company agreements or
amendments thereto) are invalid, void, and enforceable.131 The Defendants move to dismiss the
count for several reasons.

       First, the Defendants argue that MBIA’s request for a declaration regarding the Zohar I
Equity and the Governance Conveyances is moot and must be dismissed as a result of the Court’s

127
   See, e.g., Mills v. Ethicon, Inc., 406 F. Supp. 3d 363, 387 (D.N.J. 2019) (“Alleging that ‘Defendants’
undertook certain illegal acts - without more - injects an inherently speculative nature into the pleadings,
forcing both the Defendants and the Court to guess who did what to whom when. Such speculation is
anathema to contemporary pleading standards.” (quoting Japhet v. Francis E. Parker Mem’l Home, Inc.,
No. 14-01206, 2014 WL 3809173, at *2 (D.N.J. July 31, 2014)); McCoy v. Favata, No. 17-1046, 2019 WL
1429570, at *14 (D. Del. Mar. 29, 2019) (“Such vague, group-pled, puzzle pleading is inappropriate and
does not provide Defendants the required fair notice of the claims and the grounds upon which they rest.”);
Joseph v. Frank (In re Troll Commc’ns, LLC), 385 B.R. 110, 120-21 (Bankr. D. Del. 2008) (dismissing
complaint with leave to amend to specify which defendants participated in the alleged wrongful actions).
128
    See, e.g., Johnson Enters., 162 F.3d at 1332 (describing the “chaotic, expensive, and time-consuming
litigation (including trial) on matters” that sprung from a complaint in which thirty-seven paragraphs of
general allegations were incorporated by reference into each count, obscuring the material allegations).
129
   Under Federal Rule 15(a)(2), made applicable to these proceedings by Bankruptcy Rule 7015, the Zohar
Funds may amend with the Court’s permission. As directed by that rule, “the court should freely give leave
when justice so requires.” FED. R. CIV. P. 15(a)(2). Factors courts consider when deciding whether
amendment is inappropriate are “(1) whether the amendment has been unduly delayed; (2) whether the
amendment would unfairly prejudice the non-moving party; (3) whether the amendment is brought for some
improper purpose; and (4) whether the amendment is futile.” Butamax Advanced Biofuels LLC v. Gevo,
Inc., No. 11-54-SLR, 2013 WL 571801, at *1 (D. Del. Feb. 13, 2013) (citing Foman v. Davis, 371 U.S.
178, 182 (1962)). There are no circumstances that prevent the Court from granting MBIA leave to amend
any of the claims the Court dismisses in this Memorandum Order.
130
      Compl. ¶ 226(a).
131
      Id. ¶ 226(b)-(d).


                                                    18
                 Case 20-50776-KBO         Doc 70      Filed 07/23/21   Page 19 of 29




prior Order Granting in Part Debtors’ and Independent Director’s Joint Emergency Motion for
an Order Declaring That the Debtors Control the Portfolio Companies and Granting Related
Relief (the “Equity Order”).132 The Equity Order declared that, as of March 30, 2020, the Zohar
Funds are the legal and beneficial owners of the equity or membership interests issued or otherwise
recorded in their names.133 It also declared that, as of March 30, 2020, the Governance
Conveyances were terminated.134

        Count IV is not moot. Among other things, MBIA seeks relief relating to the time period
prior to the entry of the Equity Order,135 and it seeks a declaration of its equity ownership (not the
Zohar Funds). Nonetheless, given the Equity Order and the Defendants’ positional change
regarding equity ownership and the effectiveness of the Governance Conveyances, MBIA may
wish (and is hereby granted permission) to amend the Complaint to clarify that it is seeking a
declaration that it has been the legal, beneficial, and equitable owner of the Zohar I Equity since it
bought the equity at auction and that the Governance Conveyances have been invalid, void, and
unenforceable since their inception.

        Second, the Defendants argue that MBIA lacks standing to seek a declaration regarding the
November 2017 Written Consents as it is a derivative claim that must be raised on behalf of the
relevant Portfolio Companies. Moreover, they argue that MBIA fails to articulate a legal theory
underlying its attempt to invalidate the consents save for general statements that the Defendants
violated the Indentures and applicable law. The Defendants highlight that MBIA does not identify
which Defendants violated the Indentures, how such parties could be held liable given that they
were not parties to the Indentures, and what applicable law was violated. Finally, they argue that
MBIA did not establish a basis for its harm with respect to two of the November 2017 Written
Consents because MBIA did not allege that it holds equity interests in the relevant Portfolio
Companies.

        The Defendants have identified valid pleading deficiencies related to MBIA’s claim with
respect to the November 2017 Written Consents. In response, MBIA merely argues that it would
be premature to dismiss the claim given the allegations of wrongdoing. Specifically, it argues that
the Defendants improperly restricted MBIA’s equity ownership in at least one of the relevant
Portfolio Companies, concealed from MBIA and the Zohar Funds the true nature of their equity
holdings, and engaged in self-dealing transactions. While MBIA urges that this is enough to
withstand dismissal, the Court does not agree. MBIA must clarify its request for declaratory
judgment, including its standing and legal entitlement for relief. Accordingly, Count IV is
dismissed with respect to the November 2017 Written Consents with leave to amend.




132
      Case No. 18-10512, D.I. 1542 (Mar. 30, 2020).
133
      Id. ¶ 3.
134
      Id. ¶ 4.
135
      Compl. ¶¶ 223-24.


                                                      19
                   Case 20-50776-KBO       Doc 70      Filed 07/23/21       Page 20 of 29




           C.       Breach of Fiduciary Duty (Count V), Aiding and Abetting Breach of
                    Fiduciary Duty (Count VI), Faithless Servant (Count VII)

        MBIA alleges in Count V claims against Tilton, the Patriarch Managers, and PPAS for
breach of fiduciary duty. It alleges in Count VI claims against the Patriarch Partners, the Octaluna
Entities, PPMG, ARK II CLO 2001-1, LLC, and ARK Investment Partners II, L.P. for aiding and
abetting those breaches. Count VII is MBIA’s faithless servant claim against Tilton, the Patriarch
Managers, and PPAS based on breach of fiduciary duty. MBIA brings these claims as subrogee
to the Noteholders.136

         In Count V, MBIA alleges that the Patriarch Managers owed fiduciary duties to the Zohar
Funds as a result of the CMAs and their position and investment and advisory services as collateral
managers.137 Similarly, it alleges that PPAS owed fiduciary duties to the Zohar Funds because of
its position and services as agent under the Credit Agreements.138 MBIA alleges that Tilton owed
fiduciary duties to the Zohar Funds as a registered investment advisor and principal of the Patriarch
Managers and PPAS.139 While MBIA alleges in a conclusory and passing fashion that Defendants
owed fiduciary duties to the Noteholders,140 notably absent are any supporting facts or articulated
legal theory for such allegation. The Defendants urge the Court to dismiss the count as a result.
They also contend that Counts VI and VII must similarly be dismissed.141

         MBIA argues that its fiduciary duty and faithless servant counts rest upon a theory that
Tilton, the Patriarch Managers, and PPAS each owed the Noteholders a direct fiduciary duty
extrinsic to the Transaction Documents and based on specific facts and circumstances. The cases
MBIA cite indicate that there can be a fiduciary relationship when one party “‘is under a duty to
act or to give advice for the benefit of the other upon matters within the scope of the relation.’”142
It is a fact-specific inquiry aimed to understand “all the circumstances and conduct relevant to
understanding the parties’ relationship” to determine whether “‘one party reasonably trusted
another.’”143 The level of trust, however, must be high – something more than that which is present


136
      Id. ¶¶ 235, 245, 248.
137
      Id. ¶¶ 228-29.
138
      Id. ¶ 230.
139
      Id. ¶ 231.
140
      Id. ¶ 233.
141
   See id. ¶ 248 (“By reason of their breaches of their fiduciary duties owed to the Zohar Funds, Tilton, the
Patriarch Manager Defendants and PPAS are faithless servants . . . .”); see also id. ¶¶ 238-40 (describing
the fiduciary relationship between the Zohar Funds and the Defendants).
142
   St. John’s Univ., N.Y. v. Bolton, 757 F. Supp. 2d 144, 166 (E.D.N.Y. 2010) (quoting Mandelblatt v.
Devon Stores, Inc., 521 N.Y.S.2d 672, 677 (N.Y. App. Div. 1987)); accord Veleron Holding, B.V. v.
Morgan Stanley, 117 F. Supp. 3d 404, 453 (S.D.N.Y. 2015); Oddo Asset Mgmt. v. Barclays Bank PLC, 973
N.E2d 735, 740 (N.Y. 2012); EBC I, Inc. v. Goldman, Sachs & Co., 832 N.E.2d 26, 31 (N.Y. 2005).
143
  St. John’s, 757 F. Supp. 2d at 166 (quoting Brass Am Film Techs., Inc., 987 F.2d 142, 150-51 (2d Cir.
1998)).


                                                     20
                     Case 20-50776-KBO       Doc 70     Filed 07/23/21        Page 21 of 29




in a typical arms-length business transaction.144 Among other things, an element of control must
be present that makes one party vulnerable to the other and unable to protect itself.145

         As a basis for the creation of a fiduciary relationship, MBIA argues that Tilton, the
Patriarch Managers, and PPAS regularly interacted and communicated with the Noteholders
regarding their collateral. MBIA points the Court to two paragraphs of the Complaint to support
its theory, but neither are sufficient. The paragraphs discuss two presentations by Tilton (not the
Patriarch Managers or PPAS), neither of which are alleged to be made to the Noteholders (only to
“varying audiences”, Moody’s, and “prospective investors”) and neither of which contained
information beyond general statements supporting the likelihood that the Noteholders’ loans would
be repaid. The paragraphs also reference non-descript monthly and quarterly reports generated by
an unspecified party but reviewed and verified by the Patriarch Managers or Tilton (not PPAS).146
MBIA also references communications to Noteholders detailed in the Final SEC Order but that
order is problematic for MBIA given that it concludes that the Zohar Funds (not the Noteholders)
were the investment adviser clients of the Patriarch Managers and Tilton and were the entities
owed fiduciary duties.147 Moreover, there is no reference to PPAS and it was not a party to that
action.148 The remaining factual allegations relied upon by MBIA simply describe the relationship
between the Zohar Funds, the Defendants, and at times, the Portfolio Companies.149 One
paragraph generally avers that the Patriarch Managers were required to manage the Zohar Funds’
assets for the Noteholders.150 Examining these as a whole, and putting aside the failure of MBIA
to clearly articulate in the Complaint that Counts V-VII are based on a direct fiduciary duty owed
to it, the Complaint’s allegations are insufficient to support a conclusion that a higher trust arose
between the sophisticated and commercial parties involved in this proceeding.151

        The Complaint leads the reader to conclude that MBIA is attempting to maintain a
derivative claim for breaches of fiduciary duty owed to the Zohar Funds. Accordingly, the Court
will dismiss Counts V and VII but grant MBIA leave to amend the Complaint to provide additional

144
   Oddo, 973 N.E.2d at 740-41; EBC I, 832 N.E.2d at 31; accord St. John’s, 757 F. Supp. 2d at 167 (holding
that “a court will look to whether a party reposed confidence in another and reasonably relied on the other’s
superior expertise or knowledge” (internal quotations omitted)).
145
   St. John’s, 757 F. Supp. 2d at 168 (finding that plaintiff was vulnerable to defendants’ abuse of their
positions of trust, that defendants were empowered by their superiority, and that plaintiff was unable to
effectively protect its interests because of such empowerment); Veleron, 117 F. Supp. 3d at 454 (examining
the degree of direction of control between the parties).
146
      See Compl. ¶¶ 78-80.
147
      See Adv. D.I. 26, Ex. 4 at 49-50.
148
      See generally id.
149
      See Compl. ¶¶ 8-9, 14, 228, 231, 238, 239.
150
      See id. ¶ 8.
151
   See, e.g., EBC I, 832 N.E.2d at 32 (noting “the general rule that fiduciary obligations do not exist between
commercial parties operating at arm’s length – even sophisticated counseled parties”); Oddo, 973 N.E.2d
at 741 (“A debtor and creditor have no special relationship of confidence and trust, and the relationship is
generally controlled by contract.” (internal citations omitted)).


                                                      21
                   Case 20-50776-KBO        Doc 70      Filed 07/23/21       Page 22 of 29




details and more clearly articulate the basis for its claims. Without a breach of fiduciary duty
claim, MBIA’s Count VI for aiding and abetting will also be dismissed with leave to amend.152

           D.       Conversion (Count VIII)

        MBIA alleges in Count VIII claims for conversion against all Defendants. MBIA brings
these claims as owner of Zohar I’s assets, subrogee to the Noteholders, and as a holder of priority
rights to payment under the Indentures.153

       To state a claim for conversion under New York law,154 a plaintiff must allege that “(1) the
property subject to conversion is a specific identifiable thing; (2) plaintiff had ownership,
possession or control over the property before its conversion; and (3) defendant exercised an
unauthorized dominion over the thing in question, to the alteration of its condition or to the
exclusion of the plaintiff's rights.”155 Certain intangible rights such as equity interests may be
converted but contractual rights may not.156

        Among other things, the Defendants argue that MBIA fails to adequately plead the property
converted. To that end, Count VIII incorporates the Complaint’s common allegations and then
alleges that “the Defendants intentionally interfered with MBIA’s and the Insured Funds’ property
rights with respect to the Collateral by wrongfully executing agreements, amendments or other
ultra vires transactions designed to strip away valuable rights in that property and transfer them to
the Defendants . . . .”157 Moreover, MBIA alleges that “Defendants further intentionally interfered
with MBIA’s and the Insured Zohar Funds’ rights to payments and other equity rights and interests
by selling certain Portfolio Companies in which MBIA and the Insured Zohar Funds own equity
without paying them due compensation, including without limitation the proceeds of the sale of
HVEASI, which Defendants represented to have been owed 100% by Zohar II.”158

        The Court agrees that the allegations are too vague to gain an understanding of, among
other things, the property of MBIA converted, the nature of such property (e.g., equity interests,
contractual rights, or otherwise), how it was converted, and when. MBIA urges the Court to
consider the totality of the allegations made in the Complaint to determine the answers to these
questions. However, the Court will not attempt to cobble together the answers to these specific
questions by combing through 186 incorporated paragraphs and making various assumptions

152
   See, e.g., Related Westpac LLC v. JER Snowmass LLC, No. 5001-VCS, 2010 WL 2929708, at *8 (Del.
Ch. Ct. July 23, 2010) (collecting and citing cases for its holding that “because the breach of fiduciary duty
claim is dismissed, the aiding and abetting claim must also be dismissed”).
153
      See Compl. ¶¶ 250, 254.
154
      Both parties apply New York law to this claim.
155
   Kirschner v. Bennett, 648 F. Supp. 2d 525, 540 (S.D.N.Y. 2009) (quoting Moses v. Martin, 360 F. Supp.
2d 533, 541 (S.D.N.Y. 2004)).
156
      Zohar CDO, No. 20-50534, 2021 WL 2495146, at **34-35.
157
      Compl. ¶ 251.
158
      Id. ¶ 253.


                                                       22
                   Case 20-50776-KBO       Doc 70      Filed 07/23/21       Page 23 of 29




related to the nature of MBIA’s conversion claim necessitated by the multiple hats its wears and
the various property and rights it possesses by virtue of the Transaction Documents and its claims
of collateral ownership. Dismissal will be granted with leave to amend.

           E.       Unjust Enrichment (Count IX)

        In Count IX, MBIA alleges claims for unjust enrichment against all Defendants for all of
the conduct challenged in the Complaint.159 It argues that the Defendants knew of and played an
active role in each other’s wrongdoings, including the OC Test manipulation and the scheme to
transfer valuable rights, interests, and amounts away from the Zohar Funds.160 MBIA further
alleges that the Defendants received the assets161 and thus interfered with its recovery.162

        Defendants seek dismissal of these claims, arguing that the claims are precluded by the
existence of contracts governing the subject matter of the claim. They also argue that MBIA fails
to specify the wrongful acts taken by each Defendant. In response, MBIA asserts that dismissal is
not appropriate because its claims exceed the scope of its contract claim. It is against many more
Defendants and targets misconduct and time periods excluded from the contract claim. Moreover,
it argues that dismissal at this early stage would be prejudicial, leaving it without a proper remedy
against non-contracting Defendants who improperly received ill-gotten gains as a result of a
contracting Defendant’s wrongful behavior.

         For similar reasons supporting the dismissal of MBIA’s tortious interference claims, the
Court will dismiss the unjust enrichment claims against all Defendants save for Tilton, LDI, Zohar
Holding, and Patriarch Partners. Given the alleged scheme, sufficient allegations have been made
to support a plausible claim of tortious interference against Tilton. Moreover, as explained more
thoroughly in Section V.H, sufficient facts are alleged to support a plausible claim of alter ego
liability against LDI, Zohar Holding, and Patriarch Partners. However, the remainder of the claims
will be dismissed with leave to amend so that MBIA may correct the group pleading problems
already articulated by the Court and specify for each Defendant the actions in which they were
involved that underly the unjust enrichment claims. Otherwise, the parties and the Court cannot
properly understand which entities were responsible for what parts of the wrongdoing and how
each was unjustly enriched.163

159
      Id. ¶ 257.
160
   Id. ¶ 255 (incorporating 186 common allegations); id. ¶ 258 (“As a result of the misconduct set forth
above, the Defendants have been enriched at MBIA’s and the Zohar Funds’ expense”).
161
      Id. ¶¶ 257-58.
162
      Id. ¶ 258.
163
    It is not clear from the face of the Complaint that contracts governing the challenged actions exist
between MBIA and the Defendants except for the Patriarch Managers. Accordingly, dismissal of the claims
against these Defendants would not be appropriate under the Defendants’ duplication argument. See Zohar
CDO 2003-1, No. 20-50534, 2021 WL 2495146, at **34-35; see also Lee v. Kylin Mgmt. LLC, No. No. 17-
CV-7249 (JMF), 2019 WL 917097, at *2 (S.D.N.Y. Feb. 25, 2019) (exploring conflicting case law and
ultimately holding that an unjust enrichment claim should be permitted regardless of the existence of a
contract governing the claim’s subject matter if the plaintiff is a non-contracting party in order to prevent
the transfer and retention of ill-gotten funds from the breaching party). With respect to the Patriarch


                                                     23
                 Case 20-50776-KBO           Doc 70      Filed 07/23/21      Page 24 of 29




            F.     Malicious Prosecution (Count X)

        In Count X, MBIA asserts two claims for malicious prosecution against Tilton and
Patriarch XV, LLC (“Patriarch XV”). The first claim arises from the Zohar I Involuntary
Proceeding, which MBIA alleges Tilton caused Patriarch XV to commence.164 The second arises
from Tilton’s defenses, counterclaims, and third-party claims asserted against MBIA in the
Delaware 225 Action.165 According to MBIA, Tilton and Patriarch XV acted without probable
cause and with malice. MBIA also asserts that the proceedings, while ultimately resolved in its
favor, further delayed and interfered with the exercise of its contractual rights and remedies under
the Transaction Documents (including its right to remove Patriarch VIII as collateral manager for
Zohar I) and resulted in substantial litigation costs and expenses.166

                   1.      Zohar I Involuntary Proceeding

        Defendants move to dismiss as untimely the claim relating to the Zohar I Involuntary
Proceeding. Under applicable New York law,167 “[a] cause of action for malicious prosecution is
governed by a one-year statute of limitations[.]”168 It accrues “when [a] plaintiff first becomes
entitled to maintain the action, i.e., when there is a determination favorable to [the] plaintiff,
notwithstanding the pendency of an appeal.”169 Claims for malicious prosecution arising from an
involuntary bankruptcy proceeding begin to run upon the dismissal of that proceeding.170 MBIA
argues that dismissal is improper because its Complaint does not conclusively demonstrate when
the Zohar I Involuntary Proceeding terminated. However, the Court may take judicial notice that




Managers, the existence and enforceability of the CMAs is not in dispute and, as the Complaint currently
stands, the actions underlying the breach of contract claim against the Patriarch Managers in Count I overlap
substantially with the unjust enrichment claims against them in Count IX. Accordingly, the Court expects
any amended Complaint to make clear which facts and circumstances allegedly support an unjust
enrichment claim against the Patriarch Managers outside the scope of Count I.
164
      Compl. ¶ 262.
165
      Id.
166
      Id. ¶¶ 262-63.
167
      The parties apply New York law to this claim.
168
      10 Ellicott Square Ct. Corp. v. Violet Realty, Inc., 81 A.D.3d 1366, 1368 (N.Y. App. Div. 2011).
169
      Id.; accord Dudick v. Gulyas, 277 A.D.2d 686, 688 (N.Y. App. Div. 2000).
170
  Lander v. Gilman, 278 N.Y.S.2d 149, 152 (N.Y. Sup. Ct. 1967); Assets Collecting Co. v. Myers, 167
A.D. 133, 138 (N.Y. App. Div. 1915).


                                                      24
                 Case 20-50776-KBO           Doc 70    Filed 07/23/21     Page 25 of 29




it was dismissed and closed on March 28, 2016,171 more than one year prior to the commencement
of this proceeding.172 Accordingly, dismissal of this claim as time-barred is warranted.

                   2.         Delaware 225 Action

        Defendants also move to dismiss the claim relating to the Delaware 225 Action for failure
to plead. Under Delaware law,173 “[f]ive requisites must coexist in order to render [a malicious
prosecution] action viable: 1) the institution of civil proceedings; 2) without probable cause; 3)
with malice; 4) termination of the proceedings in the aggrieved party’s favor; and 5) damages
which were inflicted upon the aggrieved party by seizure of property or other special injury.”174
In Delaware, malicious prosecution claims are “viewed with disfavor” “and, therefore, assessed
with careful scrutiny.”175 They tend to chill litigation and deter plaintiffs from vindicating their
rights for fear of legal liability if they lose.176

        At the outset, the Defendants assert that the claim must be dismissed against Patriarch XV
because it was not a party to the Delaware 225 Action. A review of that action’s docket confirms
this assertion, and MBIA notes in its briefing that its malicious prosecution claim relating to the
Delaware 225 Action is not asserted against Patriarch XV.177 Accordingly, Defendants’ request
to dismiss Patriarch XV from this claim will be granted.

         The Defendants argue that the claim against Tilton should be dismissed for three reasons.
First, they argue that MBIA does not plead that the claims brought by Tilton against MBIA in the
Delaware 225 Action were terminated in MBIA’s favor. However, the Complaint does make those
allegations.178 Its second argument that MBIA fails to allege special injury is likewise unavailing

171
    See In re Zohar CDO 2003-1, Ltd., No. 15-23680 (RDD) (Bankr. S.D.N.Y.); In re Zohar CDO 2003-1,
Corp., No. 15-23681 (RDD) (Bankr. S.D.N.Y.); In re Zohar CDO 2003-1, LLC, No. 15-23682 (RDD)
(Bankr. S.D.N.Y.). A court may take judicial notice of another court’s docket. Orabi v. Attorney General
of the United States, 738 F.3d 535, 537 n.1 (3d Cir. 2014).
172
   MBIA has argued that the parties agreed to toll all causes of action in connection with the Zohar Funds
as of May 21, 2018. However, the one-year statute of limitations period for any malicious prosecution
claim related to the Zohar I Involuntary Proceeding expired by then.
173
      The parties apply Delaware law to this claim.
174
  Nix v. Sawyer, 466 A.2d 407, 411 (Del. Super. Ct. 1983); Winshall v. Viacom Int’l, Inc., No. N15C-06-
137 EMD CCLD, 2019 WL 960213, at *15 (Del. Super. Ct. Feb. 25, 2019); Nevins v. Bryan, No. 05C-07-
041-ESB, 2005 WL 2249520, at *1 (Del. Super. Ct. Sept. 8, 2005) (quoting Kaye v. Patone, Inc., 395 A.2d
369, 372 (Del. Ch. 1978), aff’d 901 A.2d 120 (Del. 2006)).
175
   Nix, 466 A.2d at 411; Kaye v. Pantone, Inc., 395 A.2d 369, 372 (Del. Ch. 1978); Winshall, No. N15C-
06-137 EMD CCLD, 2019 WL 960213, at *15; see also Blue Hen Mech., Inc. v. Christian Bros. Risk
Pooling Tr., 117 A.3d 549, 558 (Del. 2015) (“[T]he case law that Blue Hen cites regarding the tort of
malicious prosecution is dusty from lack of use. And we believe that is a good thing.”).
176
      Nix, 466 A.2d at 411.
177
      Adv. D.I. 46 ¶ 118.
178
  Compl. ¶ 172 (alleging that claims filed against MBIA in the Delaware 225 Action were premised on
Defendants’ claim of ownership of the Portfolio Companies’ equity); id. (alleging that, on November 30,


                                                      25
                  Case 20-50776-KBO        Doc 70      Filed 07/23/21       Page 26 of 29




as MBIA asserts in the Complaint that the Delaware 225 Action served to delay the exercise of its
rights and remedies.179 This is “something more than expenses and attorney’s fees” needed to
sustain a malicious prosecution claim.180 Finally, the Defendants argue that MBIA fails to properly
allege that the Delaware 225 Action was brought without probable cause and with malice. The
Court does not agree.

        Probable cause “is determined at the time of the inception of the original proceeding[].”181
Its existence will be established if the person bringing the civil suit “reasonably believes that he
[or she] has a good chance of establishing it to the satisfaction of the Court or the jury.”182 Malice
may be averred generally and exists when the commencement of the suit was “done with a
wrongful or improper motive or with a wanton disregard for the rights of that person against whom
the act is directed.”183 “[L]itigating a case about which reasonable minds might differ” does not
amount to malicious prosecution.184

        The Complaint alleges a series of inappropriate maneuverings designed by Tilton to thwart
MBIA’s exercise of its rights and remedies.185 According to MBIA, one such action was her
pursuit of claims against MBIA in the Delaware 225 Action premised on her knowingly, wrongful
claim of Portfolio Company equity ownership.186 When she failed to prevail in that suit, MBIA
alleges that she further delayed by obtaining a stay pending appeal and then commencing the Zohar
Funds’ bankruptcy proceedings.187 MBIA further claims that Tilton’s ultimate abandonment of
her ownership claim as reflected in the Equity Order is further indicative of her bad faith and




2017, the court confirmed that the Zohar Funds at issue owned the equity); id. ¶ 173 (alleging that the court
rejected each ground asserted by the Defendants in support of their ownership claim); id. ¶ 262 (alleging
that the Delaware 225 Action was adjudicated in MBIA’s favor).
179
      See, e.g., id. ¶¶ 171, 263.
180
   BRP Hold Ox, LLC v. Chilian, No. N18C-04-116 CLS, 2018 WL 5734648, at *6 (Del. Super. Ct. Oct.
31, 2018); accord Nevins, No. 05C-07-041-ESB, 2005 WL 2249520, at *2; Winshall, No. N15C-06-137
EMD CCLD, 2019 WL 960213, at *16.
181
  BRP, No. N18C-04-116 CLS, 2018 WL 5734648, at *5; accord Nevins, No. 05C-07-041-ESB, 2005
WL 2249520, at *1.
182
   BRP, No. N18C-04-116 CLS, 2018 WL 5734648, at *5; accord Nevins, No. 05C-07-041-ESB, 2005
WL 2249520, at *1; Winshall v. Viacom Int’l, Inc., No. N15C-06-137 EMD CCLD, 2019 WL 960213, at
*15.
183
    BRP, No. N18C-04-116 CLS, 2018 WL 5734648, at *5; accord Nevins, No. 05C-07-041-ESB, 2005
WL 2249520, at *1; Winshall, No. N15C-06-137 EMD CCLD, 2019 WL 960213, at *16 (quotations and
citations omitted).
184
      Blue Hen, 117 A.3d at 561.
185
      See, e.g., Compl. passim.
186
      See, e.g., id. ¶¶ 171-72.
187
      See, e.g., id. ¶ 174.


                                                     26
                  Case 20-50776-KBO          Doc 70       Filed 07/23/21        Page 27 of 29




malicious prosecution.188 Accepting these allegations as true as the Court must at this stage, the
Court finds that MBIA sufficiently alleges probable cause and malice.

        Tilton argues that the Delaware 225 Action was brought to preserve her rights. She also
highlights that the action was tried to completion after extensive discovery, resulted in a lengthy
and thorough opinion from the Delaware Chancery Court that made no reference to bad faith, and
thereafter was stayed pending appeal. The Court acknowledges that these facts weigh against a
finding of malicious prosecution; however, it will not foreclose MBIA’s claim at this initial stage
and will weigh all evidence presented following completion of discovery.189 Right now, the Court
is tasked only with deciding whether MBIA properly alleges a claim of malicious prosecution
against Tilton, and it has. Accordingly, dismissal of the claim will be denied.

           G.       Abuse of Process (Count XI)

        Count XI is MBIA’s final claim. It is brought for abuse of process relating to the Zohar I
Involuntary Proceeding. The Defendants move to dismiss this claim as time barred under the one-
year statute of limitations established by New York law for such claim.190 MBIA does not oppose
dismissal on this ground.191 Accordingly, the Court will dismiss the count.

           H.       Defendants LD Investments, LLC and Zohar Holding, LLC

        LDI and Zohar Holding are subject to MBIA’s declaratory judgment, conversion, and
unjust enrichment claims. It seeks relief from these entities based on an alter ego theory.192 The
Defendants request dismissal, asserting that MBIA fails to plead the required elements. Both
parties agree that to properly succeed on alter ego theory, MBIA must establish that (1) the subject
entities “operate as a single economic entity” and that (2) there is an “overall element of injustice
or unfairness.”193 To that end, MBIA pleads that LDI and Zohar Holding are pass-through entities
solely owned and controlled by Tilton,194 that they are members of and holding companies for
other Defendants,195 and that Tilton, through her web of affiliated entities, took the series of actions

188
      See, e.g., id. ¶ 183.
189
    See, e.g., Winshall v. Viacom Int’l, Inc., No. N15C-06-137 EMD CCLD, 2016 WL 3462119, at *12 (Del.
Super. Ct. Feb. 29, 2016) (allowing malicious prosecution claim to continue in spite of “lingering questions
of fact” and “[r]egardless of the strength of th[e] claim”); Winshall, No. N15C-06-137 EMD CCLD, 2019
WL 960213, at *16 (finding no malicious prosecution where defendant relied upon case law supportive of
its position, suit was filed preserve it rights, and there was no finding that the suit was frivolous or warranted
a fee award).
190
      Ellicott Square, 81 A.D.3d at 1368.
191
      See Adv. D.I. 46 ¶ 120 n.21.
192
      Id. ¶¶ 126-28.
193
   Varbero v. Belesis, No. 20-cv-2538, 2020 WL 5849516, at *3 (S.D.N.Y. 2020) (quoting NetJets
Aviation, Inc. v. LHC Commc’ns., LLC, 537 F.3d 168, 177 (2d Cir. 2008)).
194
      See Compl. ¶¶ 9-15, 20-21.
195
      See id.


                                                       27
                Case 20-50776-KBO           Doc 70     Filed 07/23/21      Page 28 of 29




challenged in the Complaint to enrich herself at the expense of MBIA and others.196 MBIA asserts
that this is sufficient to support a plausible conclusion that LDI and Zohar Holding were not
operated as distinct entities independent from Tilton but rather, served as her vehicles for the
movement of the assets and other wrongfully acquired benefits away from those rightfully entitled.
The Court agrees with MBIA that the allegations are sufficient and will not require dismissal of
the claims against these entities.197

VI.       CONCLUSION

       Much of MBIA’s Complaint is vague and requires refinement. Accordingly, for the
foregoing reasons, the Court hereby GRANTS IN PART and DENIES IN PART the relief
requested in the Motion to Dismiss as set forth below.

          1.      The following claims or counts are dismissed with leave to amend:

                  (a)      Counts II and III (Tortious Interference) against all non-Tilton Defendants;
                  (b)      Count IV (Declaratory Judgment) related to the November 2017 Written
                           Consents;
                  (c)      Count V (Breach of Fiduciary Duty);
                  (d)      Count VI (Aiding and Abetting Breach of Fiduciary Duty);
                  (e)      Count VII (Faithless Servant);
                  (f)      Count VIII (Conversion); and
                  (g)      Count IX (Unjust Enrichment) against all Defendants except Tilton,
                           Patriarch Partners, LDI, and Zohar Holding.

          2.      The following claims or counts are dismissed without leave to amend:

                  (a)      Count X (Malicious Prosecution) against Patriarch XV;
                  (b)      Count X (Malicious Prosecution) against Tilton relating to the Zohar I
                           Involuntary Proceeding; and
                  (c)      Count XI (Abuse of Process).




196
      See Compl. passim.
197
   See, e.g., Varbero, No. 20-cv-2538, 2020 WL 5849516, at *4 (finding alter ego theory adequately pled
where plaintiff plausibly alleged that defendants used certain corporate entities, over which they had sole
control and ownership, in a series of fraudulent conveyances to shield funds from creditors).
   In its briefing in opposition to the Motion to Dismiss, MBIA clarified that it also seeks relief from the
Patriarch Partners based on an alter ego theory. Adv. D.I. 46 ¶ 91. To the extent the Defendants seek to
dismiss Patriarch Partners for similar reasons as LDI and Zohar Holdings, the Court denies such request.


                                                     28
            Case 20-50776-KBO        Doc 70     Filed 07/23/21     Page 29 of 29




      3.     All other relief requested in the Motion to Dismiss is denied.




Dated: July 23, 2021
                                   Karen B. Owens
                                   United States Bankruptcy Judge




                                              29
